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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS
                             (EASTERN DIVISION - BOSTON)


 KIRA WAHLSTROM,

                                    Plaintiff,

                        -against-
                                                    Civil Case No. 1:22‐cv‐10792‐RGS
 DAVID J. HOEY, LAW OFFICES OF
 DAVID J. HOEY, P.C., DON C. KEENAN,
 D.C. KEENAN & ASSOCIATES, P.C. D/B/A
 THE KEENAN LAW FIRM, P.C., AND
 KEENAN’S KIDS FOUNDATION, INC.


                                    Defendants


     PLAINTIFF’S MOTION FOR JUDGMENT ON THE PLEADINGS ON THE
    COUNTERCLAIMS OF DEFENDANTS DON C. KEENAN and D.C. KEENAN &
           ASSOCIATES, P.C. D/B/A THE KEENAN LAW FIRM P.C.

       Pursuant to Rule 12(c), Fed. R. Civ. P., Plaintiff Kira Wahlstrom, through undersigned

counsel, respectfully moves for judgment on the pleadings on both counterclaims of Defendants

Don C. Keenan and his law firm D.C. Keenan & Associates, P.C. D/B/A The Keenan Law Firm,

P.C. (referred to collectively herein as “Keenan”). Ms. Wahlstrom relies on the accompanying

memorandum in support of her motion, the Declaration of Bridget A. Zerner and Exhibits 1 to 8.

       Keenan has asserted counterclaims for breach of contract and indemnification claiming

that Ms. Wahlstrom is obligated to indemnify him against all claims and damages asserted

against Keenan by referring attorney Austin O’Toole in the action O’Toole v. Hoey, et al., Civil

Action No. 2021-0741, pending in the Superior Court of Suffolk County. Ms. Wahlstrom had

entered into a contingent fee agreement with Defendant David Hoey in 2010 under which Hoey

would be paid 33.3% of any recovery in her premises liability case with a referral agreement that

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O’Toole would receive 1/3 of attorney Hoey’s fee. O’Toole claims that Keenan and Hoey then

conspired to purposely reduce O’Toole’s fee by having Ms. Wahlstrom sign a second contingent

fee agreement in 2015 whereby Keenan would be the attorney to receive the fee from any

recovery in Ms. Wahlstrom’s case, rather than Hoey, so that Hoey would then be paid from the

fee received by Keenan, thus “rearranging the waterfall of any fee distribution” to reduce

O’Toole’s 1/3 cut of any fee received by Hoey. Keenan now claims that under the same 2015

contingent fee agreement, Ms. Wahlstrom must indemnify Keenan on O’Toole’s claims in the

state case and on all claims in the instant action that are derivative of O’Toole’s claims,

including that Ms. Wahlstrom must pay all defense costs incurred by Keenan and any judgment

entered in favor of O’Toole. See Dkt. No. 24, Keenan Answer and Counterclaims.

       As shown in the accompanying memorandum and supporting documents, Keenan fails to

establish a plausible claim for relief against Ms. Wahlstrom under the 2015 Contingent Fee

Agreement on which he relies. Moreover, this issue – whether Ms. Wahlstrom can be liable for

the referral fee of referring attorney Austin O’Toole under the 2015 Contingent Fee Agreement –

has already been decided by the Superior Court of Suffolk County which ruled that Ms.

Wahlstrom cannot be liable for O’Toole’s referral fee or his disputes with Keenan (and David

Hoey). Thus, judgment should enter on the pleadings in favor of Ms. Wahlstrom.

       Pursuant to L.R. 7-1(a)(2), undersigned counsel certifies that she attempted to resolve this

matter in good faith by conferring with counsel for Keenan, attorney John O’Connor, but was

unable to reach a resolution.

Dated: November 18, 2022                      Respectfully submitted,

                                              /s/ Bridget A. Zerner
                                              Bridget A. Zerner (BBO No. 669468)
                                              John J.E. Markham, II (BBO No. 638579)
                                              MARKHAM READ ZERNER LLC


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                                            Attorneys for the Plaintiff


                            CERTIFICATE OF SERVICE

       I hereby certify that on November 18, 2022 this document was served by electronic
delivery through the CM/ECF system on the registered participants as identified on the Notice of
Electronic Filing, which will forward copies to Counsel of Record.



                                     /s/ Bridget A. Zerner
                                     Bridget A. Zerner




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